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                            EXHIBIT I
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                  From: Nicholas Sandmann
                  Sent: Saturday, January 19, 2019 1:59:54 PM
                  To: Bob Rowe
                  Subject: March For Life

                  Mr. Rowe,

               I am sure by now you are aware of what happened to me, and the rest of Covington Catholic on
              the March For life. I am writing in hopes of telling you the factually correct version of the story
              that you will hear from any of the other students and the teachers there. Covington Catholic
              was standing on the steps of the lincoln Memorial waiting for our buses to arrive to take us
              home. Meanwhile, a group of 4-5 African Americans protesting some issue (I'm not sure what it
              was) noticed us standing there as they shouted at us, and others. When they realized we were
              not taking what they had said seriously (it was all irrational) they started calling us names
              (bigot, white cracker, racists, incest kids were among the ones that I heard). I remember moving
              out of the crowd and going down to both Mr. Kleier and Mrs. Hagedorn and asking them "What
              is going on?" as they continued to hurl derogatory phrases and insults at us. That is when Mr.
              Hannsman allowed us to do Cov Cath's normal spirit cheers as a means of blocking out what we
              were hearing. We did the normal spirit cheers and then were approached by a Native American
              man and a couple of people following him with cameras. At this point, I was in the middle
              surrounded by all other 250ish students. I do not think the Native American man was with the
              people insulting us. However, the man began to beat his drum and chant a song that was not in
              English. He approached our students and only got closer. Our students moved out of his way
              and it was as if he was trying to make a path through our section which was obviously unsafe. I
              was standing on the first step and could not really move. As he approached me he realized I
              was not moving and locked eye contact with me. This continued for a number of minutes as
              many people pulled out their phones and taped it. I'll remind you I was surrounded by other
              students and stuck on the steps so walking away was not available to me. I am aware of what
              happened to Elder and as I saw the cameras I was determined to not have that happen to our
              school. So I did the next best thing from walking away. I stood there, never said a single word,
              and I looked at him. I am sure he wanted to intimidate me or get a reaction as he moved into
              my personal space and hit the drum harder than he had before. The only response I gave him
              was to be a bigger person and stand there without responding. I would have liked to have left
              him as the whole situation was getting out of control with all the cameras. I never saw any of
              the teachers or chaperones come from the outside of the group to help usher me out of there.
              So I continued to look at him in hopes the situation would die. I never gave him the response he
              wanted and I acted the whole time thinking about Cov Cath and what was respectful. The only
              thing I did was smile at the fact that he was trying to intimidate me and get a reaction, and I
              was not going to do anything. I was under the impression on the way back that I had done well
              and I had not acted in any way but instead sat through it. Twitter took it in a different direction
              though. I have not said anything in response to the tens of thousands of comments on that
              video. I have been called a Nazi, Ku Klux Klan member, and an Opponent of Civil Rights. I acted
              foremost as a Catholic and a student of Covington Catholic. I would like to~ad of
              explaining this in a drawn-out fashion over an email. My phone number is~ I



  Exhibit #
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Sandmann 19                                                                                         N.S. 000105
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   want to answer any questions and misconceptions as well as ask you what is going to happen. I
   understand how bad the school may look in the eyes of some and I apologize for that but this
   situation was put upon me and I acted as best I could.

   Thank You,
   Nicholas Sandmann




                                                                                    N.S. 000106
